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UNITED STATES DISTRICT COURT
                                                                     USDC-SDNY
SOUTHERN DISTRICT OF NEW YORK
                                                                     DOCUMENT
                                                                     ELECTRONICALLY FILED
 BASSEY B. NDEMENOH,                                                 DOC#:
                                                                     DATE FILED: 10-16-20
                              Plaintiff,

                         v.
                                                                       20-CV-4492 (RA)
 VINCENT BOUDREAU; WILLIAM C.
                                                                            ORDER
 THOMPSON JNR.; ANTHONY
 LAPERUTA; WENDY THORNTON;
 GEORGE RHINEHART; TANNI BAIDYA,

                              Defendants.



RONNIE ABRAMS, United States District Judge:

         Plaintiff, who is proceeding pro se, paid the filing fees to commence this action.

         The Clerk of Court is directed to issue summonses as to Defendants Vincent Boudreau, William

C. Thompson, Jr., Anthony Laperuta, Wendy Thornton, George Rhinehart, and Tanni Baidya. Plaintiff

is directed to serve the summons and complaint on each Defendant within 90 days of the issuance of

the summonses. If within those 90 days, Plaintiff has not either served Defendants or requested an

extension of time to do so, the Court may dismiss the claims against Defendants under Rules 4 and 41

of the Federal Rules of Civil Procedure for failure to prosecute.

         The Clerk of Court is directed to mail a copy of this order to Plaintiff, together with an

information package.

SO ORDERED.

Dated:      October 16, 2020
            New York, New York

                                                    RONNIE ABRAMS
                                                    United States District Judge
